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                                UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION


Richard Kadrey, et al.,                        Case No. 3:23-cv-03417-VC
       Individual and Representative Plaintiffs, STIPULATION AND [PROPOSED]
                                                 ORDER CONSOLIDATING
       v.                                        CASES AS MODIFIED
Meta Platforms, Inc.,

       Defendant.                              Trial Date:          None
                                               Date Action Filed:   July 7, 2023



Michael Chabon, et al.,                        Case No. 3:23-cv-04663-VC

       Individual and Representative Plaintiffs, STIPULATION AND [PROPOSED]
                                                 ORDER CONSOLIDATING CASES
       v.
                                                 Trial Date:        None
Meta Platforms, Inc.,
                                                 Date Action Filed: September 12, 2023
       Defendant.




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       Pursuant to Federal Rule of Civil Procedure 42(a) and Local Rule 3-12(a), Plaintiffs Sarah

Silverman, Christopher Golden, Richard Kadrey, Michael Chabon, Ta-Nehisi Coates, Junot Diaz,

Andrew Sean Greer, David Henry Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder,

Ayelet Waldman, and Jacqueline Woodson and Defendant Meta Platforms, Inc. jointly request that the

above-captioned actions (the “Actions”) be consolidated for all pretrial and trial proceedings. The

Parties, by and through their undersigned counsel, stipulate as follows:

       WHEREAS, on July 7, 2023, Plaintiffs Richard Kadrey, Sarah Silverman, and Christopher

Golden (collectively, “Plaintiffs”) a filed a Complaint (ECF No. 1) against Defendant Meta Platforms,

Inc. (“Meta” or “Defendant”) in Kadrey, et al. v. Meta Platforms, Inc., No. 3:23-cv-03417-VC (N.D.

Cal. July 7, 2023) asserting various claims for relief (the “Kadrey Action”);

       WHEREAS, on September 12, 2023, Plaintiffs Michael Chabon, David Henry Hwang,

Matthew Klam, Rachel Louise Snyder, and Ayelet Waldman a complaint against Meta in Chabon, et

al. v. Meta Platforms, Inc., Case No. 4:23-cv-04663-VC (N.D. Cal. Sept. 12, 2023) asserting the same

claims for relief (“Chabon Action”);

       WHEREAS, on September 19, 2023, Plaintiffs filed an Administrative Motion to Consider

Whether Cases Should Be Related seeking to relate the Chabon Action to the Kadrey Action (Kadrey

Action, ECF No. 28);

       WHEREAS, on September 22, 2023, this Court ordered the clerk to relate the later-filed

Chabon Action to the Kadrey Action (Kadrey Action, ECF No. 31);

       WHEREAS, on October 5, 2023, the Plaintiffs in the Chabon action filed a First Amended

Complaint adding various named plaintiffs but otherwise making no changes to the claims for relief

(Chabon Action, ECF No. 16);

       WHEREAS, the Kadrey Action and the Chabon Action both allege putative class action claims

regarding LLaMA and assert the same claims for relief against the Defendant;

       WHEREAS, Defendant filed a motion to dismiss the operative complaints in the Kadrey case,

which was heard on November 9, 2023 (ECF No. 37). The Parties stipulated that Defendant’s motion

shall apply to the operative complaints in Kadrey and Chabon, with all Plaintiffs submitting a single


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opposition (ECF No.18). On November 20, 2023, the Court entered its Order Granting Motion to

Dismiss (ECF No. 56);

       WHEREAS, the Parties agree that consolidation of the Actions will advance the just and

efficient progress of this litigation, reduce case duplication, conserve Court time and resources, avoid

the need to contact parties and witnesses for multiple proceedings, and minimize the expenditure of

time and money for all Parties involved. See Fed. R. Civ. P. 42(a);

       WHEREAS, by stipulating to consolidation of the Actions, Defendant does not concede the

truth of any of Plaintiffs’ allegations or that certification of the putative classes is proper under Federal

Rule of Civil Procedure 23 and specifically reserves its right to oppose class certification on all

available grounds and waives no rights by agreeing to this consolidation;

       WHEREAS, the Parties have conferred and agreed that, going forward, the Kadrey Action and

the Chabon Action shall be consolidated for all purposes under Federal Rule of Civil Procedure 42(a);

NOW THEREFORE, the Parties, through their undersigned counsel, hereby stipulate and agree that,

subject to the approval of the Court,

               1.      the Kadrey Action and the Chabon Action shall be consolidated for all purposes

       under Federal Rule of Civil Procedure 42(a); and

               2.      to the extent Plaintiffs amend their Complaint, they will file a consolidated

       complaint.




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Dated: December 5, 2023              By:        /s/ Joseph R. Saveri
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Dated: December 5, 20233             By:       /s/ Bobby Ghajar
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                                     [PROPOSED] ORDER

PURSUANT TO THE STIPULATION, IT IS SO ORDERED:

            1.      The Kadrey Action and the Chabon Action are consolidated for all purposes

     under Federal Rule of Civil Procedure 42(a); the lead case will be Kadrey et al v. Meta

     Platforms, Inc. No. 23-cv-03417; the clerk’s office is directed to close Chabon et al v. Meta

     Platforms Inc. No. 23-cv-04663; and

            2.      To the extent Plaintiffs amend their Complaint, they must file a consolidated

     complaint.

          December 7 2023
Dated: ______________,
                                              Hon. Vince Chhabria
                                              United States District Judge




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